      4:05-cr-03029-DLP   Doc # 33   Filed: 05/23/05    Page 1 of 1 - Page ID # 65
                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )             4:05CR3029-5
           Plaintiff,                    )
     vs.                                 )              MEMORANDUM
                                         )              AND ORDER
JEFFREY D. MATTSON,                      )
                                         )
           Defendant.                    )

     The Court has been advised that the defendant requests permission
to enter a plea of guilty. The Court is further advised that the
defendant will consent to Judge Piester conducting the hearing on the
plea of guilty.

     IT IS ORDERED that:

     The oral motion of defendant is granted and,

     1.    This case, insofar as it concerns this defendant, is removed
           from the trial docket based upon the request of the
           defendant.

     2.    A hearing on the defendant’s anticipated plea of guilty is
           scheduled before Magistrate Judge Piester on the 31st day of
           May, 2005, at the hour of 2:30 p.m., in Courtroom No. 2,
           United States Courthouse and Federal Building, 100 Centennial
           Mall North, Lincoln, Nebraska.

     3.    On or before the date set for the plea proceeding, counsel
           for plaintiff and for defendant shall provide to the assigned
           probation officer their respective versions of the offense
           for purposes of preparing the presentence investigation
           report.

     4.    For this defendant, the time between today’s date and the
           hearing on the anticipated plea of guilty is excluded for
           purposes of computing the limits under the Speedy Trial Act.
           See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     Dated: May 23, 2005
                                         BY THE COURT:
                                         s/   David L. Piester
                                         United States Magistrate Judge
